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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL INDUSTRY                  )    MDL NO. 1456
AVERAGE WHOLESALE PRICE                         )
LITIGATION                                      )    CIVIL ACTION: 01-CV-12257-PBS
                                                )
                                                )    Judge Patti B. Saris
THIS DOCUMENT RELATES TO                        )
U.S. ex rel. Ven-A-Care of the Florida Keys,    )    Magistrate Judge Marianne B. Bowler
Inc. v. Abbott Laboratories, Inc., et al.       )
No. 06-CV-11337-PBS                             )

    NOTICE OF 30(B)(6) DEPOSITION OF THE CENTERS FOR MEDICARE AND
                           MEDICAID SERVICES

       PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules of Civil

Procedure, Abbott Laboratories, Inc. (“Abbott”) by its undersigned attorneys, will take the

deposition upon oral examination of one or more representatives of the Centers for Medicare and

Medicaid Services. This notice calls for testimony on the following topics originally set forth in

Abbott’s November 21, 2007 Letter:

       16.    Any and all efforts by CMS to establish a Federal Upper Limit for any of the
Subject Drugs or Subject J-Codes during the Relevant Claim Period, as authorized by 42 C.F.R.
§ 447.332, and CMS’s reasons for any decision or policy not to establish a FUL for the Subject
Drugs and other injectables.

         18.    The frequency and manner in which each State Medicaid agency made findings
and assurances to CMS during 1991-2003, as required by 42 C.F.R. § 447.333, that “[i]n the
aggregate, its Medicaid expenditures for all other drugs are in accordance with § 447.331 of this
subpart,” as well as all communications between CMS and State Medicaid agencies regarding
these findings and assurances, all related guidance or interpretations provided by CMS, all
efforts by CMS during 1991-2003 to request and/or evaluate any “data, mathematical or
statistical computations, comparisons, and any other pertinent records to support [the State
Medicaid agencies’] findings and assurances” (§ 447.333(c)), or CMS’s reasons for any decision
not to require states to make such findings and assurances. With respect to multiple source drugs
for which CMS did not establish an upper limit under § 447.332, this topic includes the
frequency and manner in which each State Medicaid agency made annual findings and
assurances to CMS that “[i]n the aggregate, its Medicaid expenditures for all other drugs are in
accordance with § 447.331 of this subpart.” 42 C.F.R. § 447.333(b).
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       The deposition will take place before a notary public, or any other officer authorized to

administer oaths, at Jones Day, 51 Louisiana Avenue, Washington, D.C. on October 16, 2009

beginning at 9:00 AM and continuing on successive days as necessary.

       Such deposition will be recorded by stenographic and/or sound and visual means. The

deposition is being taken for the purposes of discovery, for use at trial, and for such other

purposes as permitted under the Federal Rules of Civil Procedure.



Dated: September 30, 2009                         /s/ David S. Torborg
                                                 James R. Daly
                                                 Brian J. Murray
                                                 JONES DAY
                                                 77 West Wacker Drive, Suite 3500
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                                                 Counsel for Defendant Abbott Laboratories, Inc.




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                                CERTIFICATE OF SERVICE

        I, David S. Torborg, an attorney, hereby certify that I caused a true and correct copy of
the foregoing NOTICE OF 30(B)(6) DEPOSITION OF THE CENTERS FOR MEDICARE
AND MEDICAID SERVICES to be served upon all counsel of record electronically by causing
same to be posted via LexisNexis this 30th day of September, 2009.



                                               /s/ David S. Torborg____
                                              David S. Torborg
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